Case 1:13-cv-00118-SWS Document 47-4 Filed 06/19/14 Page 1 of 4

EXHIBIT D

Case 1:13-cv-00118-SWS. Document 47-4 Filed 06/19/14 Page 2 of 4

INTERROGATORY NO, 12: State in specific detail each and every action, inquiry
and/or affirmative step You took to confirm, verify and/or investigate Defendants, including their
history, background and their Communications and Statements and “representations” before
making Your Donation.

ANSWER: Plaintiff took no actions to investigate Defendants’ history or background
but instead believed Defendants to be truthful and believed that they would not misrepresent
matters to him.

Case 1:13-cv-00118-SWS Document 47-4 Filed 06/19/14. Page 3 of 4

6, Admit that You initially contacted Ric Gillespie about making a Donation to
TIGHAR’s NIKU VII expedition.

RESPONSE: Admit.

7. Admit that You were not solicited by Ric Gillespie or anyone with TIGHAR
before making Your Donation to TIGHAR, NOTE: For purposes of responding “solicitation”
means that contact regarding Your Donation to TIGHAR was initiated by Defendants.

RESPONSE: Qualified denial. TIGHAR made specific efforts to publicize its
expedition and its efforts to find the Earhart wreckage. Plaintiff's response to TIGHAR and
contact with Ric Gillespie was a direct result of those efforts.

8, Admit that You and You alone are who made the decision to make Your Donation
to TIGHAR.

RESPONSE: Admit.

9, Admit that You and You alone made the decision about the size of Your Donation
to TIGHAR, :

RESPONSE: Admit. '

10. Admit that before You made Your Donation, You did not ask to see any
videotape or other recordings made recorded during the NIKU VI expedition.

RESPONSE: Admit.

12. Admit that before You made Your Donation, You did not see any videotape
recorded during the NIKU VI expedition.

RESPONSE: Admit.

Case 1:13-cv-00118-SWS Document 47-4 Filed 06/19/14 Page 4 of 4

31. Admit You never asked Ric Gillespie whether TIGHAR found Earhart Artifacts. |
RESPONSE: Adinit.

from the NIKU VI expedition.
RESPONSE: Admit.

36. Admit You never asked any person to evaluate any TIGHAR niaterials before
making Your Donation to TIGHAR.

RESPONSE: Admit.

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regarding Your Donation.

43 Admit You had no contract with TIGHAR

RESPONSE: Admit.

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